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RAÚL R. LABRADOR
ATTORNEY GENERAL
LINCOLN DAVIS WILSON, ISB #11860
Chief of Civil and Constitutional Defense
BRIAN V. CHURCH, ISB #9391
TIMOTHY J. LONGFIELD, ISB #12201
Deputy Attorneys General
Office of the Attorney General
P. O. Box 83720
Boise, ID 83720-0010
Telephone: (208) 334-2400
Facsimile: (208) 854-8073
lincoln.wilson@ag.idaho.gov
brian.church@ag.idaho.gov
timothy.longfield@ag.idaho.gov
Attorneys for Defendants Raúl Labrador; and Prosecutors for Bear Lake, Canyon,
Caribou, and Nez Perce Counties.

                      UNITED STATE DISTRICT COURT
                           DISTRICT OF IDAHO

PLANNED PARENTHOOD GREAT NORTH-
WEST, HAWAII, ALASKA, INDIANA, KEN-               Case No. 1:23-cv-00142-BLW
TUCKY, on behalf of itself, its staff, physi-
cians and patients, et al.                        AMENDED NOTICE OF AP-
                Plaintiffs,                       PEARANCE

v.
RAÚL LABRADOR, in his capacity as the At-
torney General of the State of Idaho, et al,
                Defendants.



      NOTICE IS HEREBY GIVEN that Lincoln Davis Wilson, Chief of Civil Litiga-

tion and Constitutional Defense, hereby appears as an attorney of record for Defend-

ants Raúl Labrador; Adam McKenzie, Bear Lake County Prosecutor; Bryan Taylor,

Canyon County Prosecutor; S. Douglas Wood, Caribou County Prosecutor; and Justin




                                            AMENDED NOTICE OF APPEARANCE – 1
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Coleman, Nez Perce County Prosecutor. All future pleadings, submissions and cor-

respondence should be addressed to Lincoln Davis Wilson as counsel for the afore-

mentioned Defendants.

      DATED: May 5, 2023.

                                     STATE OF IDAHO
                                     OFFICE OF THE ATTORNEY GENERAL


                                  By:   /s/ Lincoln Davis Wilson
                                          LINCOLN D. WILSON
                                          Chief, Civil Litigation and
                                          Constitutional Defense




                                          AMENDED NOTICE OF APPEARANCE – 2
       Case 1:23-cv-00142-BLW Document 123 Filed 05/05/23 Page 3 of 3




                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 5, 2023, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
Filing to the following persons:

Colleen R. Smith                          Peter G. Neiman*
csmith@stris.com                          peter.neiman@wilmerhale.com

Jennifer R. Sandman*                      Alan E. Schoenfeld*
jennifer.sandman@ppfa.org                 alan.schoenfeld@wilmerhale.com

Catherine Peyton Humphreville*            Michelle Nicole Diamond*
catherine.humphreville@ppfa.org           michelle.diamond@wilmerhale.com

Michael J. Bartlett                       Rachel E. Craft*
michael@bartlettfrench.com                rachel.craft@wilmerhale.com

Dina Flores-Brewer                        Katherine V. Mackey*
dfloresbrewer@acluidaho.org               katherine.mackey@wilmerhale.com

Andrew Beck*
abeck@aclu.org

Meagan Burrows*
mburrows@aclu.org

Ryan Mendías*
rmendias@aclu.org

Scarlet Kim*
scarletk@aclu.org

                                          *Pro hac vice




                                         /s/ Lincoln Davis Wilson
                                       LINCOLN DAVIS WILSON
                                       Deputy Attorney General




                                            AMENDED NOTICE OF APPEARANCE – 3
